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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                     8:12CR376
                                              )
              V.                              )
                                              )
JORGE BAUTISTA-CRUZ and                       )                      ORDER
CHRISTOPHER M. JIMENEZ,                       )
                                              )
                     Defendants.              )
                                              )


       IT IS ORDERED that:


       (1)    The plaintiff’s motion to continue trial (filing 28) is granted.


       (2)    Trial of this case as to both defendants is continued to April 1, 2013, at 9:00
a.m., as the number one criminal trial, before Senior United States District Judge Richard G.
Kopf, in the Special Proceedings Courtroom, Roman L. Hruska U.S. Courthouse, 111 South
18 th Plaza, Omaha, Nebraska. Since this is a criminal case, the defendant shall be present
unless excused by the court.


       (3)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161.


       (4)    No more trial continuances will be granted.

       DATED this 29 th day of January, 2013.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             Senior United States District Judge
